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                     Exhibit 8
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              Exhibit 8
Claim 11 of U.S. Patent No. 10,833,908




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                                                     US Patent No. 10,833,908: Claim 11(a)
                                      "11.    A method performed by a mobile station, the method comprising:”
11.      A method performed by a mobile Ford’s Accused Products include vehicles equipped with components and/or devices that enable
station, the method comprising:          connectivity to 4G/LTE networks and services, including services sold and provided by Ford.

                                          To the extent the preamble is considered a limitation, Ford’s Accused Products meet the preamble of
                                          the ’908 patent. E.g.,

                                          The LTE specification (Series 36, Release 8) supports user equipment (UE) to perform a random access
                                          (RACH) procedure.
                                          For example, release 8 of the 36 series 3GPP specifications was frozen in December of 2008 and that release
                                          was used as the basis for the first wave of LTE equipment. The LTE marketplace currently supports a mix of
                                          releases from Release 8 through Release 15. For ease of review release 8 of the LTE specification is cited
                                          below, but similar cites are available for each corresponding release on the market.
                                          An LTE communication system provides access to multiple users (user equipments (UEs)) through multiple
                                          cells associated with multiple eNodeBs.




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                      US Patent No. 10,833,908: Claim 11(a)
         "11.    A method performed by a mobile station, the method comprising:”




            See e.g., 3GPP TS 36.300 V8.12.0 at pg. 15.




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                                                              US Patent No. 10,833,908: Claim 11(b)
       “transmitting, to the base station, an random access signal followed by a guard period in only a portion of the frequency band, wherein the random
                                               access signal includes a sequence associated with the base station,”
transmitting, to a base station, a first uplink Ford’s Accused Products transmit, to a base station, a first uplink signal within a frequency band, wherein
signal within a frequency band, wherein the the first uplink signal is an OFDM signal and utilizes a frame format comprising a plurality of timeslots,
first uplink signal is an orthogonal each timeslot comprising a plurality of OFDM symbols. E.g.,
frequency division multiplexing (OFDM)
signal and utilizes a frame format A frequency band used for LTE communication has an associated channel bandwidth over which uplink and
comprising a plurality of timeslots, each downlink communication is transmitted between the UEs and the eNodeBs.
timeslot comprising a plurality of OFDM
symbols;




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                                                      US Patent No. 10,833,908: Claim 11(b)
“transmitting, to the base station, an random access signal followed by a guard period in only a portion of the frequency band, wherein the random
                                       access signal includes a sequence associated with the base station,”




                                      See e.g., 3GPP TS 36.101 V8.29.0 at pg. 15.


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                                                      US Patent No. 10,833,908: Claim 11(b)
“transmitting, to the base station, an random access signal followed by a guard period in only a portion of the frequency band, wherein the random
                                       access signal includes a sequence associated with the base station,”

                                      For the uplink, LTE uses a specific type of OFDM referred to a discrete Fourier Transform Spread (DFTS)-
                                      OFDM.




                                      See e.g., 3GPP TS 36.300 V8.12.0 at pg. 25.




                                      See e.g., 3GPP TS 36.300 V8.12.0 at pgs. 27-28.

                                      The UE transmits OFDM signals carrying data on the physical uplink shared channel (PUSCH).




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                                                      US Patent No. 10,833,908: Claim 11(b)
“transmitting, to the base station, an random access signal followed by a guard period in only a portion of the frequency band, wherein the random
                                       access signal includes a sequence associated with the base station,”




                                      See e.g., 3GPP TS 36.211 V8.9.0 at pg. 13.


                                      In LTE, both the type 1 and type 2 frame structures include multiple time slots.




                                                                     7
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                                                      US Patent No. 10,833,908: Claim 11(b)
“transmitting, to the base station, an random access signal followed by a guard period in only a portion of the frequency band, wherein the random
                                       access signal includes a sequence associated with the base station,”




                                      See e.g., 3GPP TS 36.211 V8.9.0 at pg. 9.




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                                                      US Patent No. 10,833,908: Claim 11(b)
“transmitting, to the base station, an random access signal followed by a guard period in only a portion of the frequency band, wherein the random
                                       access signal includes a sequence associated with the base station,”




                                      See e.g., 3GPP TS 36.211 V8.9.0 at pg. 10.


                                      Each time slot includes 7 symbols for a normal cyclic prefix (6 for extended).




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                                                      US Patent No. 10,833,908: Claim 11(b)
“transmitting, to the base station, an random access signal followed by a guard period in only a portion of the frequency band, wherein the random
                                       access signal includes a sequence associated with the base station,”




                                      See e.g., 3GPP TS 36.211 V8.9.0 at pg. 12.



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                                                           US Patent No. 10,833,908: Claim 11(c)
“transmitting, to the base station, an random access signal followed by a guard period in only a portion of the frequency band, wherein the random access
                                                signal includes a sequence associated with the base station,”
transmitting, to the base station, an         Ford’s Accused Products transmit, to the base station, an random access signal followed by a guard period in
random access signal followed by a guard only a portion of the frequency band, wherein the random access signal includes a sequence associated with
period in only a portion of the frequency     the base station. E.g.,
band, wherein the random access signal
includes a sequence associated with the       The random access preamble transmitted on the PRACH occupies a bandwidth corresponding to 6
base station,                                 consecutive resource blocks in both the type 1 and type 2 frame structures, which is a fraction of the overall
                                              channel bandwidth (frequency band) for any other bandwidth than the smallest. The range of the overall
                                              channel bandwidth is the bandwidth of 6 to 100 resource blocks, corresponding to bandwidths 1.4MHz to
                                              20MHz, with 20MHz being the most commonly used bandwidth




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                                                           US Patent No. 10,833,908: Claim 11(c)
“transmitting, to the base station, an random access signal followed by a guard period in only a portion of the frequency band, wherein the random access
                                                signal includes a sequence associated with the base station,”




                                             See e.g., 3GPP TS 36.211 V8.9.0 at pgs. 33, 35-36.




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                                                           US Patent No. 10,833,908: Claim 11(c)
“transmitting, to the base station, an random access signal followed by a guard period in only a portion of the frequency band, wherein the random access
                                                signal includes a sequence associated with the base station,”




                                             See e.g., 3GPP TS 36.101 V8.29.0 at pg. 15



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                                                           US Patent No. 10,833,908: Claim 11(c)
“transmitting, to the base station, an random access signal followed by a guard period in only a portion of the frequency band, wherein the random access
                                                signal includes a sequence associated with the base station,”




                                             See e.g., 3GPP TS 36.211 V8.9.0 at pg. 13.

                                             The random access burst includes a guard time added after the preamble transmission.




                                             See e.g., 3GPP TS 36.300 V8.12.0 at pg. 29.




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                                                           US Patent No. 10,833,908: Claim 11(c)
“transmitting, to the base station, an random access signal followed by a guard period in only a portion of the frequency band, wherein the random access
                                                signal includes a sequence associated with the base station,”




                                             See Sesia, Toufik and Baker, “LTE: The UMTS Long Term Evolution From Theory to Practice”, at pgs.
                                             377-378.




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                                                           US Patent No. 10,833,908: Claim 11(c)
“transmitting, to the base station, an random access signal followed by a guard period in only a portion of the frequency band, wherein the random access
                                                signal includes a sequence associated with the base station,”




                                             See e.g., 3GPP TS 36.211 V8.9.0 at p. 39.




                                             See e.g., 3GPP TS 36.211 V8.9.0 at p. 40.




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                                                         US Patent No. 10,833,908: Claim 11(d)
“wherein a time duration of a combination of the random access signal and the guard period is greater than a time duration of at least one of the plurality of
                                                                 OFDM symbols; and”
 wherein a time duration of a                The time duration of a combination of the random access signal and the guard period implemented using
 combination of the random access            Ford’s Accused Products is greater than a time duration of at least one of the plurality of OFDM symbols.
 signal and the guard period is              E.g.,
 greater than a time duration of at
 least one of the plurality of OFDM          LTE defines a basic time unit (Ts ) and is equal to 1/ (15000 x 2048) seconds. The symbol time is 2048 *Ts
 symbols; and                                or 66.7 µs.




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                                              See e.g., 3GPP TS 36.211 V8.9.0 at pgs. 7-8.


                                              An LTE slot typically has 7 symbols, except for extended cyclic prefix which has 6 symbols. As a result, a
                                              symbol for a typical slot is ~2192 base time intervals and for extended cyclic prefix is ~2560 basic time
                                              intervals.




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                                              See e.g., 3GPP TS 36.300 V8.12.0 at pgs. 27-28.



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                                                        US Patent No. 10,833,908: Claim 11(d)
“wherein a time duration of a combination of the random access signal and the guard period is greater than a time duration of at least one of the plurality of
                                                                 OFDM symbols; and”




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                                                         US Patent No. 10,833,908: Claim 11(d)
“wherein a time duration of a combination of the random access signal and the guard period is greater than a time duration of at least one of the plurality of
                                                                 OFDM symbols; and”
                                             See e.g., 3GPP TS 36.211 V8.9.0 at pg. 12.




                                              See e.g., 3GPP TS 36.211 V8.9.0 at pg. 13.


                                              Preamble formats 0-4 have sequence lengths of 4096 to 49,152 basic time intervals.




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                                                        US Patent No. 10,833,908: Claim 11(d)
“wherein a time duration of a combination of the random access signal and the guard period is greater than a time duration of at least one of the plurality of
                                                                 OFDM symbols; and”




                                              See e.g., 3GPP TS 36.211 V8.9.0 at pg. 33.




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                                                         US Patent No. 10,833,908: Claim 11(e)
                                                    “receiving, from the base station, a response message.”
receiving, from the base station, a response Ford’s Accused Products receive, from the base station, a response message. E.g.,
message.
                                             Once the Random Access Preamble is transmitted, the UE shall monitor the PDCCH for Random Access
                                             Response(s) identified by the RA-RNTI. The random access response is sent by the eNB and received by
;                                            the UE via the PDSCH and addresses with the RA-RNTI ID.




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                        US Patent No. 10,833,908: Claim 11(e)
                   “receiving, from the base station, a response message.”
            See e.g., 3GPP TS 36.300 V8.12.0 at pgs. 52-53.




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                      US Patent No. 10,833,908: Claim 11(e)
                  “receiving, from the base station, a response message.”




            See e.g., 3GPP TS 36.300 V8.7.0 at pgs. 54 and 55.




            See e.g., 3GPP TS 36.300 V8.12.0 at pg. 14.

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                      US Patent No. 10,833,908: Claim 11(e)
                  “receiving, from the base station, a response message.”




            See Sesia, Toufik and Baker, “LTE: The UMTS Long Term Evolution From Theory to Practice”, at pg. 374.




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